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COSGRAVE VERGEER KESTER LLP
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Portland, Oregon 97204
Telephone:    (503) 323-9000
Facsimile:    (503) 323-9019

       Attorneys for Defendant DFA Dairy
       Brands Transportation LLC




                              UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                     PORTLAND DIVISION

JULIE REILLY,                                        Case No.

                Plaintiff,
                                                     NOTICE OF REMOVAL OF ACTION
       v.

DFA DAIRY BRANDS ICE CREAM, LLC &                    DEMAND FOR JURY TRIAL
WINCO FOODS, LLC,

                Defendants.


       Defendant DFA Dairy Brands Ice Cream, LLC (“Dairy”) removes this action pursuant to

28 U.S.C. §§ 1441 and 1446.1 This Court has diversity jurisdiction of this case because it is a

civil action between citizens of different states and the amount in controversy exceeds $75,000.

This action should therefore proceed before this Court.




1
 By filing this notice, Dairy does not waive, and specifically reserves, all defenses and
exceptions to this action.
                                                                               Cosgrave Vergeer Kester LLP
Page 1 - NOTICE OF REMOVAL OF ACTION                                           900 SW Fifth Avenue, 24th Floor
                                                                               Portland, Oregon 97204
                                                                               Telephone: 503-323-9000
                                                                               Facsimile: 503-323-9019
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                                        I. BACKGROUND

       1.       On July 26, 2022, plaintiff Julie Reilly filed a Complaint, Case Number

22CV24569, in the Circuit Court of Multnomah County, Oregon. In the Complaint, plaintiff

asserts claims for product liability, negligence, negligence per se, and breach of implied warranty

against defendants DFA Dairy Brands Transportation, LLC and Winco Foods, LLC (“Winco”).

On August 29, 2022, plaintiff filed an Amended Complaint (the “Complaint”), naming the

proper defendant, DFA Dairy Brands Ice Cream, LLC (“Dairy”).

       2.       A true and correct copy of all process, pleadings, and orders served on Dairy in

Case Number 22CV24569 in the Circuit Court of Multnomah County, Oregon, is attached hereto

as Exhibit A.

       3.       This Court has diversity jurisdiction over this matter pursuant to 28 U.S.C.

§ 1332(a)(1) because it is a civil action between citizens of different States and the amount in

controversy exceeds the sum of $75,000. See 28 U.S.C. § 1332(a)(1) (granting federal district

courts jurisdiction over “all civil actions where the matter in controversy exceeds the sum or

value of $75,000, exclusive of interest and costs, and is between…citizens of different States”).

                               II. DIVERSITY JURISDICTION

       A.       The Parties Are Diverse

       4.       Based on the allegations of the Complaint, Plaintiff is a citizen of Oregon for
diversity purposes. Complaint at ¶ 1.

       5.       The Complaint correctly states that Dairy is a foreign limited liability company.

See Complaint at ¶ 3. Dairy is incorporated in the state of Delaware and maintains its principal

place of business in Kansas. Declaration of Joshua Garcia, ¶ 2. Accordingly, Dairy is a citizen

of Delaware and Kansas for the purposes of diversity jurisdiction. See 28 U.S.C. § 1332(c)(1)

(“[A] corporation shall be deemed to be a citizen of every State…by which it has been

incorporated and of the State…where it has its principal place of business….”).

       6.       Additionally, the Complaint correctly states that defendant Winco is a foreign
limited liability company. See Complaint at ¶ 2. Winco is incorporated in the state of Delaware
                                                                                Cosgrave Vergeer Kester LLP
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and maintains its principal place of business in Idaho. Declaration of Kenneth J. Abere, Jr., Ex.

B. Accordingly, Winco is a citizen of Delaware and Idaho for the purposes of diversity

jurisdiction.

           7.       Based on the foregoing, there is complete diversity of citizenship between the

parties.

           B.       The Amount in Controversy Exceeds $75,000

           8.       The amount in controversy requirement of 28 U.S.C. § 1332 is also satisfied.

Viewing Plaintiff’s allegations as a whole and from the Plaintiff’s perspective, the amount of

damages sought in this action exceeds $75,000.

           9.       In determining whether the amount in controversy is met, “[t]he district court may

consider whether it is ‘facially apparent’ from the complaint that” the amount is met. Singer v.

State Farm Mut. Auto Ins. Co., 116 F.3d 373, 377 (9th Cir. 1997). “If not, the court may

consider facts in the removal petition, and may ‘require the parties to submit summary-judgment-

type evidence relevant to the amount in controversy at the time of removal.’” Id.

           10.      “[C]ourts may use judicial experience and common sense in determining whether

it is facially apparent that the amount in controversy is satisfied, and courts should conduct an

independent appraisal of the allegations of the complaint.” See Samsky v. State Farm Mut. Auto.

Ins. Co., No. 219CV00992CASJPRX, 2019 WL 1488737, at *3 (C.D. Cal. Apr. 3, 2019).
           11.      The Complaint alleges that defendants are responsible to Plaintiff for her injuries

she has allegedly sustained.2 Specifically, the Complaint alleges that defendants caused

plaintiff’s tooth to break, requiring dental/oral surgery, and causing her pain and inconvenience.

See Complaint, ¶¶ 4, 8, 14, 17, 22, 27, 33, 36, 41. The Complaint seeks to recover judgment for

$15,000.00 in economic damages for and $100,000.00 for non-economic damages. Id. at ¶ 41.

           12.      Plaintiff’s demand for damages up to $115,000.00 indicates she is seeking

damages well beyond the $75,000 jurisdictional threshold.


2
    Dairy does not admit these allegations.
                                                                                    Cosgrave Vergeer Kester LLP
Page 3 - NOTICE OF REMOVAL OF ACTION                                                900 SW Fifth Avenue, 24th Floor
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        13.    Because the allegations in the Complaint establish that Plaintiff is seeking up to

$115,000.00 in damages and that plaintiff has suffered injuries and pain for which recovery is

foreseeable, it is “more likely than not” that the amount in controversy in this case exceeds

$75,000. See Sanchez v. Monumental Life Ins. Co., 102 F.3d 398, 404 (9th Cir. 1996) (“[T]he

defendant must provide evidence establishing that it is ‘more likely than not’ that the amount in

controversy exceeds [the jurisdictional threshold].”).

        14.    The Court thus has original jurisdiction over this action pursuant to 28 U.S.C.

§ 1332, and Dairy may remove this action to this Court pursuant to 28 U.S.C. §§ 1441(a) and

1446.

                                      III. CONCLUSION

        A true and correct copy of this Notice of Removal will be filed with the Clerk of the

Circuit Court of Multnomah County, Oregon, as required by 28 U.S.C. § 1446. Concurrent with

the filing of this Notice of Removal, Dairy has served Plaintiff with a copy of Dairy’s Notice of

Removal to Federal Court.

        WHEREFORE, Dairy seeks that Case Number 22CV24569 in the Circuit Court of

Multnomah County, Oregon, be removed to and proceed in this Court and that no further

proceeding be had in this case in the Circuit Court proceeding.

        DATED: September 7, 2022.
                                                COSGRAVE VERGEER KESTER LLP

                                                      s/ Kenneth J. Abere, Jr.
                                                Kenneth J. Abere, Jr., OSB No. 942345
                                                kabere@cosgravelaw.com
                                                Amber A. Beyer, OSB No. 173045
                                                abeyer@cosgravelaw.com
                                                900 SW Fifth Avenue, 24th Floor
                                                Portland, OR 97204
                                                Telephone: 503-323-9000
                                                Facsimile: 503-323-9019
                                                Attorneys for Defendant DFA Dairy Brands Ice
                                                Cream, LLC


                                                                               Cosgrave Vergeer Kester LLP
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                         IN THE CIRCUIT COURT OF THE STATE OF OREGON
                                 FOR THE COUNTY OF MULTNOMAH

 JULIE REILLY,

                                             Plaintiff
                                                                                       Case No.: 22CV24569
                                V.
                                                                                       SUMIVIONS
 DFA DAIRY BRANDS TRANSPORTATION,
 LLC & WINCO FOODS, LLC

                                               D efendant.

 TO:        DFA DAIRY BRANDS TRANSPORTATON, LLC
            c/o Corporation Service Co
            1127 Broadway St, Ste 310
            Salem, OR 97301,


          You are hereby required to appear and defend the complaint filed against you in the above entitled action within thirty (30) days from
the date of service of this summons upon you, and in case of your failure to do so, for want thereof, plaintiff(s) will apply to the court for the relief
demanded in the complaint.

 NOTICE TO THE DEFENDANT: READ THESE PAPERS CAREFULLY!

   You must "appear" in this case or the other side will win automatical!y. To
 "appear" you must file with the court a legal paper called a"motion" or
 "answer." The "motion" or "answer" must be given to the court c!erk or                 SIGNATURE OF ATTORNEY/AUTHOR FOR PLAINTIFF
 administrator within 30 days, a!ong with the required fi!ing fee. It must be
 in proper form and have proof of service on the plaintifPs attorney or, if the
 plaintiff does not have an attorney, proof of service upon the p!aintiff.              Matthew 1. Rizzo
                                                                                        ATTORNEY'S/AUTHOR'S NAME                       BAR NO.
   If you have any questions, you should see an attorney immediately. If                950230
 you need he!p in finding an attorney, you may contact the Oregon State
 Bar's Lawyer Referral Service online at www.oregonstatebar.org or by calling           Law Office of Matthew Rizzo LLC
 (503) 684-3763 (in the Portland metropolitan area) or toll-free elsewhere in Oregon
 at(800)452-7636.
                                                                                        850 SE 3rd Ave, Ste 302
                                                                                        Portland, Oregon 97214
                                                                                        Te1: 503-405-9723


                                                                                        Trial Attorney if Other than Above   BAR NO.


TO THE OFFICER OR OTHER PERSON SERVING THIS SUMMONS: You are hereby directed to serve a true copy of this summons, together
with a true copy of the complaint mentioned therein, upon the individual(s) or other legal entity(ies) to whom or which this summons is directed,
and to make,your proof of service on the reverse hereof or upon a separate similar document which you shall attach hereto.




                                                                                              ATTORNEY FOR PLAINTIFF(S)

Law Office of Matthew Rizzo LLC
850 SE 3~d Ave, Ste 302
Portland, Oregon 97214
Tel. and Fax: 503-405-9723, 503-296-5447



Page 1 — SUMMONS



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                                       7/26/2022 11:46 AM
                                           22CV24569




 1

                    IN THE CIRCUIT COURT OF THE STATE OF OREGON
 2


 3                              FOR THE COUNTY OF MULTNOMAH

 4


 5


 6   JULIE REILLY
                                                 CASE NO.
 7                 Plaintiff,                    COMPLAINT - PRODUCT LIABILITY/
 8
                                                 NEGLIGENCE/BREAC OF IMPLIED
           V.
                                                 WARRANTY OF MERCHANTABILITY -
 9   DFA DAIRY BRANDS                            $110,000.00
     TRANSPORTATION, LLC & WINCO
lo   FOODS, LLC,                                 NOT SUBJECT TO MANDATORY
11                                               ARBITRATION
                   Defendants.
12
                                                 Fee Authority ORS 20.160(c)

13


14                              FACTS COMMON TO BOTH CLAIMS

15                                              1.

16         Plaintiff is a resident of Multnomah County.

17                                              2.

18         Defendant Winco Foods LLC ("Winco") is foreign limited liability company

19   regularly conducting business in Multnomah County, Oregon.

20                                              3.

21         Defendant DFA Dairy Brands Transportation, LLC ("Dairy Brands") is a foreign

22   limited liability company conducting business in Multnomah County, Oregon.

23                                              4.

24         On or about September 14, 2020, Plaintiff purchased a container of cherry

25   Bordeaux ice cream from a Winco store located at 2511 SE 1 sf Street, Gresham, OR.


                                                                Law Oft'ice of Matthew Rizzo LLC.
                                                                       850 SE 3b Ave, Ste 302
     Page 1 of 9- COMPLAINT                                        PORTLAND,OREGON 97214
                                                                    TELEPHO NE: 503.405.9723
                                                                EMAIL: mrizzo@rizzolawportland.com



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 1   Unbeknownst to Plaintiff, one of the cherries contained an entire pit. When Plaintiff bit

 2   into the cherry pit, she cracked one of her right molar teeth.

 3            FIRST CLAIM FOR RELIEF: STRICT LIABILITY - DAIRY BRANDS

 4                                                5.

 5          Under ORS 30.920, a seller of any product in a defective condition, unreasonably

 6   dangerous to the consumer, is subject to liability for physical harm to the consumer if

 7   the seller is engaged in the business of selling such a product, and the product is

 8   expected to and does reach the consumer without substantial change in the condition in

 9   which it is sold.
lo                                                6.

11          The presence of a complete pit in one of the ice cream's cherries constituted a

12   defective condition that rendered the cherry/ice cream unreasonably dangerous to the

13   consumer. The cherry/ice cream was expected to and did reach the consumer without

14   substantial change in the condition in which it was sold.
15                                                7.

16          As the producer of ice cream, Dairy Brands is strictly liable under ORS 30.920 for
17   the reasonably foreseeable harms to Plaintiff suffered, described below.
18                                                S.

19          As the seller of ice cream, Dairy Brands is strictly liable under ORS 30.920 for the

20   reasonably foreseeable damages Plaintiff suffered, described below.
21        SECOND CLAIM FOR RELIEF: NEGLIGENCE PER SE - DAIRY BRANDS

22                                                9.

23          Plaintiff realleges paragraphs 1-8.
24                                                10.

25          The State of Oregon prohibits the manufacture, sale, delivery, holding or offeringl


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 1   for sale of any food that is adulterated. ORS 616.215(1). Among other things, a food is

 2   deemed adulterated if it contains any deleterious substance which may render it

 3   injurious to health. ORS 616.235(1)(a). A food also is deemed adulterated if it bears or

 4   contains any nonnutritive substance. ORS 616.235(3)(c).

 5                                                 11.
            By producing the ice cream that contained the unpitted cherry, Dairy Brands has violated
 6
     the statutory prohibition of ORS 616.215.
 7
                                                    12.
 a          By selling the ice cream that contained the unpitted cherry, Dairy Brands has violated
 9   the statutory prohibition of ORS 616.215.
lo                                                     13.
11          As a consumer, Plaintiff is a member of the class of persons intended to be
12   protected by ORS 616.215, and the injuries she suffered were of the kind that
13   ORS 616.215 was intended to prevent. By violating ORS 616.215, Dairy Brands was
14   negligent per se with respect to the injuries Plaintiff suffered.
15                                                     14.
16          As a direct result of Dairy Brands' negligence per se, Plaintiffhas suffered
17   reasonably foreseeable damages, described below.
ls               THIRD CLAIM FOR RELIEF: NEGLIGENCE - DAIRY BRANDS
19                                                     15.
20          Plaintiff realleges paragraphs 1-14.
21                                                     16.
22          The injuries that Plaintiff sustained from the unpitted cherry in the ice cream were a
23   direct result of Dairy Brands unreasonable and negligent conduct in general and in one or
24   more of the following particulars, by and through the actions and/or inactions of its
25   employees and/or agents acting within the course and scope of their employment


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                                                                          EMAIL: mrizzo@rizzolawportland.com



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 1   and/or agency:

 2          (a) Dairy Brands knew or should have known about the hazards and risks of an

 3   unpitted cherry in ice cream, and failed to provide adequate safeguards

 4   (including proper training of employees) to prevent selling ice cream containing cherry pits

 5   unpitted cherries;

 6          (b) Dairy Brands failed to adequately inspect and discover the unpitted cherry even

 7   though the cherry pit jar's label warned of potential pit fragments;

 8          (e) Dairy Brands failed to adequately warn customers of the possibility of

 9   encountering whole pits; and

10          (d) Dairy Brands failed to properly keep unpitted cherries out of its ice cream.

11                                                   17.

12          As a result of Defendant's negligence, Plaintiff sustained the reasonably

13   foreseeable injuries and damages alleged below.

14         FOURTH CLAIM FOR RELIEF: BREACH OF IMPLIED WARRANTY OF

15                            MERCHANTABILITY — DAIRY BRANDS

16                                                   18.

17          Plaintiff realleges paragraphs 1-17.

18


19                                                   19.

20          At all material times, Dairy Brands was a merchant within the meaning of ORS

21   72.1040(1) with respect to the ice cream.

22                                                   20.

23          Dairy Brands breached the implied warranty of inerchantability set forth at ORS

24   72.3140 and the implied warranty of fitness set forth at ORS 72.3150 by selling Plaintiff

25   the ice cream, which would not pass without objection in the trade under the contract


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      Page 4 of 9- COMPLAINT                                               PORTLAND,OREGON 97214
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 1   description was not fit for the ordinary purposes for which such goods are used and

 2   not conform to the promises or affirmations of fact made on the menu.

 3                                                 21.

 4          As a direct result of the breaches described above, Plaintiff suffered the

 5   reasonably foreseeable damages, described below.

 6                                                 22.

 7          As a result of Defendant's strict liability, negligence per se, negligence, and

 8   violations of the implied warranties of inerchantability and fitness, one of Plaintiff's

 9   teeth broke, requiring surgical repair. Plaintiff incurred approximately $15,000 in

10   dental/oral surgery charges and seek this amount in economic damage. She also seeks a

11   reasonable amount, in no event to exceed $100,000, in non-economic damages for her

12   pain and inconvenience. -

13                FIFTH CLAIM FOR RELIEF: STRICT LIABILITY - WINCO

14                                                 23.
15          Plaintiff realleges paragraphs 1-22.
16                                                 24.

17          Under ORS 30.920, a seller of any product in a defective condition, unreasonably

18   dangerous to the consumer, is subject to liability for physical harm to the consumer if

19   the seller is engaged in the business of selling such a product, and the product is

20   expected to and does reach the consumer without substantial change in the condition in
21   which it is sold.

22                                                 25.
23          The presence of a complete pit in one of the ice cream's cherries constituted a

24   defective condition that rendered the cherry/ice cream unreasonably dangerous to the

25



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      Page 5 of 9- COMPLAINT                                           PORTLAND,OREGON 97214
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                                                                   EMAI L:. mrizzo@rizzolawp ortland.com


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 1   consumer. The cherry/ice cream was expected to and did reach the consumer without

 2   substantial change in the condition in which it was sold.

 3                                                 26.

 4          As the producer of ice cream, Winco is strictly liable under ORS 30.920 for the

 5   reasonably foreseeable harms to Plaintiff suffered, described below.

 6                                                 27.

 7          As the seller of ice cream, Winco is strictly liable under ORS 30.920 for the

 8   reasonably foreseeable damages Plaintiff suffered, described below.

 9               SIXTH CLAIM FOR RELIEF: NEGLIGENCE PER SE - WINCO

10                                                 28.

11          Plaintiff realleges paragraphs 1-27.

12                                                 29.

13          The State of Oregon prohibits the manufacture, sale, delivery, holding or offering

14   for sale of any food that is adulterated. ORS 616.215(1). Among other things, a food is

15   deemed adulterated if it contains any deleterious substance which may render it

16   injurious to health. ORS 616.235(1)(a). A food also is deemed adulterated if it bears or

17   contains any nonnutritive substance. ORS 616.235(3)(c).

18                                                 30.
            By producing the ice cream that contained the unpitted cherry, Winco has violated
19
     the statutory prohibition of ORS 616.215.
20
                                                    31.
21
            By selling the ice cream that contained the unpitted cherry, Winco has violated
22   the statutory prohibition of ORS 616.215.
23                                                 32.
24          As a consumer, Plaintiff is a member of the class of persons intended to be
25   protected by ORS 616.215, and the injuries she suffered were of the kind that


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                                                                      EMAIL: mrizzo@rizzolawportland.com


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 1   ORS 616.215 was intended to prevent. By violating ORS 616.215, Winco was

 2   negligent per se with respect to the injuries Plaintiff suffered.

 3                                                     33.

 4          As a direct result of Winco's negligence per se, Plaintiff has suffered

 5   reasonably foreseeable damages, described below.

 6                   SEVENTH CLAIM FOR RELIEF: NEGLIGENCE - WINCO

 7                                                     34.

 8          Plaintiff realleges paragraphs 1-33.

 9                                                    35.

10          The injuries that Plaintiff sustained from the unpitted cherry in the ice cream were a

11   direct result of Winco's unreasonable and negligent conduct in general and in one or

12   more of the following particulars, by and through the actions and/or inactions of its

13   employees and/or agents acting within the course and scope of their employment

14   and/oragency:

15          (a) Winco knew or should have known about the hazards and risks of an

16   unpitted cherry in ice cream, and failed to provide adequate safeguards

17   (including proper training of employees) to prevent selling ice cream containing

18   unpitted cherries;

19          (b) Wirico failed to adequately inspect and discover the unpitted cherry even

20   though the cherry pit jar's label warned of potential pit fragments;

21          (c) Winco failed to adequately warn customers of the possibility of

22   encountering whole pits; and

23          (d) Winco failed to properly keep unpitted cherries out of its ice cream.

24


25



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 1                                                 36.
 2          As a result of Defendant's negligence, Plaintiff sustained the reasonably

 3   foreseeable injuries and damages alleged below.

 4         EIGHTH CLAIM FOR RELIEF: BREACH OF IMPLIED WARRANTY OF

 5                               MERCHANTABILITY - WINCO

 6                                                 37.

 7          Plaintiff realleges paragraphs 1-36.

 8                                                 10

 9          At all material times, Winco was.a merchant within the meaning of ORS

10   72.1040(1) with respect to the ice cream.

11                                                 39.
12          Winco breached the implied warranty of inerchantability set forth at ORS

13   72.3140 and the implied warranty of fitness set forth at ORS 72.3150 by selling Plaintiff

14   the ice cream, which would not pass without objection in the trade under the contract
15   description was not fit for the ordinary purposes for which such goods are used and di
16   not conform to the promises or affirmations of fact made on the menu.

17                                                 40.
18          As a direct result of the breaches described above, Plaintiff suffered the

19   reasonable foreseeable damages, described below.

20                                                 41.
21          As a result of Defendant's strict liability, negligence per se, negligence, and

22   violations of the implied warrant-ies of inerchantability and fitness, one of Plaintiff's
23   teeth broke, requiring surgical repair. Plaintiff incurred approximately $15,000 in
24   dental/oral surgery charges and seek this amount in economic damage. She also seeks a

25



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 1   reasonable amount, in no event to exceed $100,000, in non-economic damages for her

 2   pain and inconvenience.

 3


 4   WHEREFORE, Plaintiff prays for judgment against the Defendants as follows:

 5         1) Noneconomic damages in a sum not more than $100,000;

 6         2) Economic damages for past, reasonable and necessary medical expenses in

 7            the approximate amount of $15,000, with additional amounts to be proven at

 8            trial;

 9         3) Plaintiff's costs and disbursements herein;

10         4) Post-judgment interest; and

11         5) Whatsoever other relief this court finds just and necessary.

12         DATED this July 26, 2022.

13                                           /s/Matthew J. Rizzo
14
                                             Matthew J. Rizzo, OSB #950230
                                             Email: mrizzo@rizzolawportland.com
15
                                             Trial Attorney for Plaintiff
16


17


18

19


20


21


22


23


24


25



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                                                                        850 SE 3b Ave, Ste 302
     Page 9 of 9- COMPLAINT                                         PORTLAND,OREGON 97214
                                                                     TELEP H 0 NE: 503.405.9723
                                                                 EMAIL: mrizzo@rizzolawportland.com


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                                          22CV24569



 1
                    IN THE CIRCUIT COURT OF THE STATE OF OREGON
 2

 3                              FOR THE COUNTY OF MULTNOMAH

 4

 5

 6   JULIE REILLY
                                                  CASE NO. 22CV24569
 7                 Plaintiff,
 8         v.                                     ACCEPTANCE OF SERVICE FOR
                                                  DEFENDANT DFA DAIRY BRANDS ICE
 9   DFA DAIRY BRANDS ICE CREAM,
     LLC & WINCO FOODS, LLC,                      CREAM, LLC
10

11
                   Defendant.
12

13
           The undersigned attorney certifies he is authorized to accept service of
14
     PLAINTIFF’S 1ST AMENDED COMPLAINT in this matter, and that he has received
15
     service of PLAINTIFF’S 1ST AMENDED COMPLAINT in this matter for defendant
16
     Dairy Brands Ice Cream, LLC listed in the caption above.
17
           DATED this August 30, 2022.
18
                                              /s/Kenneth J. Abere, Jr.
19

20                                           Kenneth J. Abere, Jr., OSB # 942345
                                             Attorney for Defendant
21

22

23

24

25


                                                                  Law Office of Matthew Rizzo LLC
                                                                          850 SE 3rd Ave, Ste 302
      Page 1 of 1 -ACCEPTANCE OF SERVICE                               PORTLAND, OREGON 97214
                                                                      TELEPHONE: (503) 405-9723
                                                                       FACSIMILE: (503) 296-5447
                                                                   EMAIL: mrizzo@rizzolawportland.com
                                                                         Exhibit A - Page 22 of 22
         Case 3:22-cv-01339-YY         Document 1       Filed 09/07/22      Page 27 of 27




                                  CERTIFICATE OF SERVICE

       I hereby certify that I served a true and correct copy of the foregoing NOTICE OF

REMOVAL OF ACTION on the date indicated below by:

       ☒       mail with postage prepaid, deposited in the US mail at Portland, Oregon,
       ☐       hand delivery,
       ☐       facsimile transmission,
       ☐       overnight delivery,
       ☒       electronic filing notification.
       If served by facsimile transmission, attached to this certificate is the printed confirmation

of receipt of the documents generated by the transmitting machine. I further certify that said

copy was placed in a sealed envelope delivered as indicated above and addressed to said attorney

at the address listed below:

Matthew J. Rizzo
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Portland, OR 97214
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       Attorneys for Plaintiff

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1220 SW Morrison, Suite 805
Portland, Oregon 97205
erhode@gillaspyrhode.com
       Attorneys for Defendant Winco Foods, LLC


       DATED: September 7, 2022.
                                                             s/ Kenneth J. Abere, Jr.

                                                    Kenneth J. Abere, Jr.




Page 1 – Certificate of Service                                                  Cosgrave Vergeer Kester LLP
                                                                                 900 SW Fifth Avenue, 24th Floor
                                                                                 Portland, Oregon 97204
                                                                                 Telephone: (503) 323-9000
                                                                                 Facsimile: (503) 323-9019
